      '                                                                                                                               FBI
AO 442 (Rev. 01/09) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                        for the                                                  APR 1 3 2023
                                                             Eastern District of Tennessee

                  United States of America
                                 V.                                       )
                                                                          )
                                                                          )
                                                                                   Case No.   0 :2 3 O..R, S 0
                                                                                                                                              H: w
            CHRISTOPHER EDWARD ALLEN                                      )
                                                                          )
                              Defendant                                                                                  RECEIVED BY:
                                                                                                             DATE:?2/l.Le./W2J TIME:.LLJJ?l
                                                            ARREST WARRANT
                                                                                                                         U.S. MARSHAL E/TN
To:       Any authorized law enforcement officer                                                                            KNOXVILLE, T N


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)        CHRISTOPHER EDWARD ALLEN
who is accused of an offense or violation based on the following document filed with the court:

~ Indictment              0    Superseding Indictment            0 Information        0 Superseding Information                      0 Complaint
0 Probation Violation Petition                    0 Supervised Release Violation Petition       0 Violation Notice                   0 Order of the Court

This offense is briefly described as follows:
 the defendant did did attempt to knowingly employ, use, persuade, induce, entice, and coerce a minor, to engage in
 sexually explicit conduct for the purpose of producing a visual depiction of such conduct using materials that have been
 mailed, shipped and transported in and affecting interstate and foreign commerce by any means including by computer, in
 violation of Title 18, United States Code, Sections 2251 (a) and (e)




Date:      0 /11.,   (2 ': .
City and state:      4~                   Q._g_ f'i                                     LEA,NNA R. \.NILSON, CLERK
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                                                                       Return

          This warrant was received on (date)            ,3/ Jlt,/ ;?o2,3     , and the person was arrested on (date)
at (city and state) l<,.._ 0 ¥ vi Ile. . T NI



Date:
                                                                                                Arresting officer's signature


                                                                                  J ,?s~u.~ C> '"' IL--.t
                                                                                                   Printed name and title
                                                                                                                         1)U.SM 4=t 31-S7S""

 FtDCase
      : l/q,?J?-Gi1'7
         3:23-cr-00033-TAV-DCP                             Document 13 Filed 04/14/23 Page 1 of 1 PageID #: 32
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